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                    EXHIBIT C
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From:                             Gulay, Erol
Sent:                             Thursday, September 09, 2021 9:52 AM
To:                               'Guerrier, Pascale'; Zornberg, Lisa; 'Tatz, Nicole'; 'Levander, Samuel';
                                  'mflumenbaum@paulweiss.com'; 'mgertzman@paulweiss.com'; 'Dearborn, Meredith
                                  (mdearborn@paulweiss.com)'; 'Linsenmayer, Robin (rlinsenmayer@paulweiss.com)';
                                  ''Bunting, Kristina' (kbunting@paulweiss.com)'; 'mkellogg@kellogghansen.com';
                                  'rfigel@kellogghansen.com'; 'Oppenheimer, Bradley E.
                                  <boppenheimer@kellogghansen.com> (boppenheimer@kellogghansen.com)';
                                  'Pfeffer, Eliana M. (epfeffer@kellogghansen.com)'; ''White, Collin R.'
                                  (cwhite@kellogghansen.com)'; Gressel, Anna; Ford, Christopher S.; Ceresney, Andrew
                                  J.; 'Solomon, Matthew'; 'Janghorbani, Alexander'; 'Bamberger, Nowell D.'
Cc:                               Daniels, Jon; Moye, Robert M.; Hanauer, Benjamin J.; Stewart, Ladan F; Waxman,
                                  Daphna A.; Tenreiro, Jorge; Sylvester, Mark; Goody, Elizabeth; Augustini, Hope Hall
Subject:                          RE: Document Production-Recordings



Pascale,

This is the first time that the SEC has sought production of the recorded meeting referenced in the document
produced at RPLI_SEC 0866480, which was produced to the SEC more than two months ago, on July 2. The
meeting was not a quarterly all-hands meeting and does not otherwise come within the scope of any of the
SEC’s other recording requests. Further, none of the 33 custodians are custodians of the recording, and the
meeting name as it appears in Ripple’s records does not suggest that the meeting is potentially responsive. As
this is the first time the SEC has requested this particular recording, and as the fact discovery period ended last
week, on August 31, the SEC’s request is dilatory and improper.

Nevertheless, in a good faith effort to achieve a reasonable compromise without further burdening the Court
on yet another discovery-related matter, Ripple agrees to review the recording and to produce it to the extent
it is responsive and not privileged. Ripple’s agreement to produce the recording should not be construed as a
waiver of our rights to oppose future SEC discovery requests on the ground that the fact discovery period has
expired. Ripple reserves all other rights.

Thanks,
Erol


From: Guerrier, Pascale [mailto:guerrierp@SEC.GOV]
Sent: Wednesday, September 08, 2021 10:02
To: Zornberg, Lisa; Gulay, Erol; 'Tatz, Nicole'; 'Levander, Samuel'; 'mflumenbaum@paulweiss.com';
'mgertzman@paulweiss.com'; 'Dearborn, Meredith (mdearborn@paulweiss.com)'; 'Linsenmayer, Robin
(rlinsenmayer@paulweiss.com)'; ''Bunting, Kristina' (kbunting@paulweiss.com)'; 'mkellogg@kellogghansen.com';
'rfigel@kellogghansen.com'; 'Oppenheimer, Bradley E. (boppenheimer@kellogghansen.com)'; 'Pfeffer, Eliana M.
(epfeffer@kellogghansen.com)'; ''White, Collin R.' (cwhite@kellogghansen.com)'; Gressel, Anna; Ford, Christopher S.;
Ceresney, Andrew J.; 'Solomon, Matthew'; 'Janghorbani, Alexander'; 'Bamberger, Nowell D.'
Cc: Daniels, Jon; Moye, Robert M.; Hanauer, Benjamin J.; Stewart, Ladan F; Waxman, Daphna A.; Tenreiro, Jorge;
Sylvester, Mark; Goody, Elizabeth; Augustini, Hope Hall
Subject: RE: Document Production-Recordings


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Counsel:

Please let us know whether the recording regarding the all-hands meeting described in the attached document has been
produced. If not, please provide the expected production date as soon as possible.

Regards,

Pascale Guerrier
SECURITIES AND EXCHANGE COMMISSION
New York Regional Office
Brookfield Place
200 Vesey Street, Suite 400
New York, New York 10281-1022
(212) 336-5473
GuerrierP@sec.gov




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From:                            Gulay, Erol
Sent:                            Tuesday, September 28, 2021 9:46 AM
To:                              'Guerrier, Pascale'
Cc:                              Zornberg, Lisa; 'Tatz, Nicole'; 'Levander, Samuel'; 'mflumenbaum@paulweiss.com';
                                 'mgertzman@paulweiss.com'; 'Dearborn, Meredith (mdearborn@paulweiss.com)';
                                 'Linsenmayer, Robin (rlinsenmayer@paulweiss.com)'; ''Bunting, Kristina'
                                 (kbunting@paulweiss.com)'; 'mkellogg@kellogghansen.com';
                                 'rfigel@kellogghansen.com'; 'Oppenheimer, Bradley E.
                                 <boppenheimer@kellogghansen.com> (boppenheimer@kellogghansen.com)';
                                 'Pfeffer, Eliana M. (epfeffer@kellogghansen.com)'; ''White, Collin R.'
                                 (cwhite@kellogghansen.com)'; Gressel, Anna; Ford, Christopher S.; Ceresney, Andrew
                                 J.; 'Solomon, Matthew'; 'Janghorbani, Alexander'; 'Bamberger, Nowell D.'; Daniels, Jon;
                                 Moye, Robert M.; Hanauer, Benjamin J.; Stewart, Ladan F; Waxman, Daphna A.;
                                 Tenreiro, Jorge; Sylvester, Mark; Goody, Elizabeth; Augustini, Hope Hall
Subject:                         RE: Document Production-Recordings



Pascale,

By way of update, this week we will be producing a recording of the meeting referenced in RPLI_SEC 0450812.

Thanks,
Erol




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